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       In The United States Court of Federal Claims
                                             No. 10-156L

                                         (Filed: May 7, 2010)
                                              __________
 MCCLURG FAMILY FARM, LLC, et al,

                         Plaintiffs,

         v.

 THE UNITED STATES,

                         Defendant.
                                              _________

                                              ORDER
                                             __________

        On March 12, 2010, plaintiffs filed their complaint in this case. On April 26, 2010,
plaintiffs filed a motion for class certification. On May 6, 2010, defendant filed an unopposed
motion to stay briefing on plaintiffs’ motion for class certification until after the filing of the joint
preliminary status report. Defendant’s motion is hereby GRANTED, and briefing on plaintiffs’
motion is stayed until further order.

        IT IS SO ORDERED.



                                                                s/ Francis M. Allegra
                                                                Francis M. Allegra
                                                                Judge
